            Case 1:24-cv-05014-LMM   Document 1   Filed 11/01/24   Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DARAINE DELEVANTE,

                      Plaintiff,
v.
                                              Case No.
TRANS UNION LLC,

                      Defendant.

            DEFENDANT TRANS UNION LLC’S NOTICE OF REMOVAL

            COMES NOW, Trans Union LLC (“Trans Union”), by and through its

counsel of record, and hereby files this Notice of Removal, pursuant to 28 U.S.C. §

1446(a) and, in support thereof, would respectfully show the Court as follows:

                        A. PROCEDURAL BACKGROUND

            1.   On or about September 26, 2024, Plaintiff Daraine Delevante

(“Plaintiff”) filed his Statement of Claim (“Complaint”) in this action in the

Superior Court of Fulton County, Georgia, Case No. 24CV012215 (“State Court

Action”). In his Complaint, Plaintiff alleges violations of the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. § 1681, et seq.

            2.   Trans Union was served with Plaintiff’s Complaint on October 4,

2024. This Notice of Removal is being filed within the 30-day time period required

by 28 U.S.C. § 1446(b).

                                          1
7632324.1
            Case 1:24-cv-05014-LMM    Document 1    Filed 11/01/24   Page 2 of 5




            3.   The time period for filing a responsive pleading in the State Court

Action has not expired as of the filing of this Notice of Removal. No orders have

been entered in the State Court Action as of the filing of this Notice of Removal.

                           B. GROUNDS FOR REMOVAL

            4.   The present suit is an action over which the United States District

Court for the Northern District of Georgia, Atlanta Division, has original

jurisdiction pursuant to 28 U.S.C. § 1331 as it is a civil action founded on a claim

or right arising under the laws of the United States. This civil action may be

removed to this Court by Trans Union pursuant to the provisions of 28 U.S.C.

§ 1446(b). Removal is proper because Plaintiff’s claims present a federal question.

28 U.S.C. §§ 1331 and 1441(a). In the Complaint, Plaintiff seeks damages for

Trans Union’s alleged violations of the FCRA.

            C. COMPLIANCE WITH PROCEDURAL REQUIREMENTS

            5.   Pursuant to 28 U.S.C. § 1441(a), venue of the removal action is proper

in the United States District Court for the Northern District of Georgia, Atlanta

Division, because it is in the district and division embracing the place where the

State Court Action is pending.

            6.   Promptly after the filing of this Notice of Removal, Trans Union shall

give written notice of removal to the Plaintiff and will file a copy of this Notice of

                                             2
7632324.1
            Case 1:24-cv-05014-LMM    Document 1    Filed 11/01/24   Page 3 of 5




Removal with the Magistrate Court of Gwinnett County, Georgia, as required by

28 U.S.C. § 1446(d).

            7.   Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders served upon Trans Union in the State Court Action are attached hereto as

Exhibit A.

            8.   Trial has not commenced in the Superior Court of Fulton County,

Georgia.

            WHEREFORE, Trans Union respectfully prays that this action be removed

to this Court and that this Court assume full jurisdiction as if it had been originally

filed here.

                                          Respectfully submitted,

                                          /s/ Paul W. Sheldon
                                          Paul W. Sheldon
                                          Georgia Bar No. 947098
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                                          (214) 560-5453
                                          (214) 871-2111 Fax
                                          Counsel for Trans Union LLC




                                             3
7632324.1
            Case 1:24-cv-05014-LMM   Document 1   Filed 11/01/24   Page 4 of 5




                        LOCAL RULE 5. 1 CERTIFICATION

            I hereby certify that TRANS UNION LLC’S NOTICE OF REMOVAL has

been prepared in Times New Roman 14-point font in accordance with Local Rule

5.1.

                                        /s/ Paul W. Sheldon
                                        PAUL W. SHELDON




                                          4
7632324.1
            Case 1:24-cv-05014-LMM     Document 1     Filed 11/01/24   Page 5 of 5




                              CERTIFICATE OF SERVICE

            I hereby certify that on the 1st day of November 2024, I filed the foregoing

with the Clerk of the Court using the Court’s E-Filing system. I further certify that

I have mailed the above and foregoing document via United States First Class Mail

to the following:

Daraine Delevante
360 Pharr Rd NE, Apt. 114
Atlanta, GA 30305
(347) 852-0294
Pro Se Plaintiff

                                           /s/ Paul W. Sheldon
                                           PAUL W. SHELDON




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